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 6                                UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                          )
                                                        )
 9                         Plaintiff,                   )
                                                        )
10           v.                                         )          2:10-CR-176-KJD (PAL)
                                                        )
11   JORDAN WILLIAMS,                                   )
                                                        )
12                         Defendant.                   )

13                            PRELIMINARY ORDER OF FORFEITURE

14           This Court finds that on November 5, 2010, defendant JORDAN WILLIAMS pled guilty to

15   Counts One and Two of a Three-Count Criminal Indictment charging him in Count One with Felon

16   in Possession of a Firearm, in violation of Title 18, United States Code, Section 922(g)(1) and in

17   Count Two with Felon in Possession of Ammunition, in violation of Title 18, United States Code,

18   Section 922(g)(1).

19           This Court finds defendant JORDAN WILLIAMS agreed to the forfeiture of property set forth

20   in Forfeiture Allegation One of the Criminal Indictment.

21           This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

22   America has shown the requisite nexus between property set forth in the Forfeiture Allegation One

23   of the Criminal Indictment and the offenses to which defendant JORDAN WILLIAMS pled guilty.

24           The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section

25   924(d)(1) and Title 28, United States Code, Section 2461(c):

26   ...
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 1                  (a)     a Mossberg Model 590 12 gauge shotgun, serial # T619743;
 2                  (b)     a Smith & Wesson, .38 caliber revolver, serial #DAD9642;
 3                  (c)     a Taurus .38 caliber revolver, serial # ZF53600;
 4                  (d)     Thirty-three (33) rounds of Gold Dot .38 caliber ammunition;
 5                  (e)     Two (2) rounds of Remington 12 gauge shotgun ammunition; and
 6                  (f)     any and all ammunition.
 7           This Court finds the United States of America is now entitled to, and should, reduce the
 8   aforementioned property to the possession of the United States of America.
 9           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
10   United States of America should seize the aforementioned property.
11           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of
12   JORDAN WILLIAMS in the aforementioned property is forfeited and is vested in the United States
13   of America and shall be safely held by the United States of America until further order of the Court.
14           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America
15   shall publish for at least thirty (30) consecutive days on the official internet government forfeiture
16   website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state
17   the time under the applicable statute when a petition contesting the forfeiture must be filed, and state
18   the name and contact information for the government attorney to be served with the petition, pursuant
19   to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).
20           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed
21   with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.
22           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,
23   shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the
24   following address at the time of filing:
25   ...
26   ...

                                                        2
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 1                  DANIEL D. HOLLINGSWORTH
                    Assistant United States Attorney
 2                  MICHAEL HUMPHREYS
                    Assistant United States Attorney
 3                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
 4                  Las Vegas, Nevada 89101.
 5            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein
 6   need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency
 7   following publication of notice of seizure and intent to administratively forfeit the above-described
 8   asset.
 9                        10
              DATED this ______          November
                                day of __________________, 2010.
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13                                                UNITED STATES DISTRICT JUDGE
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 1                                       PROOF OF SERVICE
 2           I, Karen Michelini, certify that the following individuals were served with copies of the
 3   Preliminary Order of Forfeiture on November 9, 2010 by the below identified method of service:
 4           E-Mail/ECF
 5           Chris T. Rasmussen
             Rasmussen & Kang, LLC
 6           330 S. Third Street, Suite 1010
             Las Vegas, Nevada 89101
 7           rasmussenlaw@hotmail.com
             Counsel for JORDAN WILLIAMS
 8
             Rebecca A. Rosenstein
 9           Federal Public Defender
             411 E. Bonneville Street
10           Las Vegas, Nevada 89101
             Rebecca_Rosenstein@fd.org
11           Counsel for Jessica Medina
12

13

14                                        /s/ Karen Michelini
                                          Karen Michelini
15                                        Forfeiture Support Associate Paralegal
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